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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                               NORTHWESTERN DIVISION

United States of America,                    )
                                             )
                Plaintiff,                   )      ORDER (AMENDED) FOR
                                             )      TRANSPORT
       vs.                                   )
                                             )
Kealoha Aulaumea,                            )      Case Nos. 4:13-cr-066 and 4:13-cr-082
                                             )
                Defendant.                   )

       Defendant has been ordered detained pending sentencing. She is being housed at the Lake

Region Correctional Center (hereinafter referred to as the “Correctional Center”) in Devils Lake,

North Dakota.

       On March 20, 2014, she filed an order requesting transport from the Correctional Center to

the Lake Region Human Service Center (“LRHSC”) for a chemical dependency evaluation, The

LRHSC is located in Devils Lake and is less than a mile from the Correctional Center. Defendant’s

chemical dependency evaluation at the LRHSC is presently scheduled for April 3, 2014, at 8:30 a.m.

The government does not oppose defendant’s motion.

       The court GRANTS defendant’s motion (Case No. 4:13-cr-066, Doc. No. 525; Case No.

4:13-cr-082, Doc. No. 87). On April 3, 2014, the United States Marshal or his designee shall

transport defendant to the LRHSC by 8:30 a.m. for her chemical dependency evaluation. Once the

evaluation is completed, the United States Marshal or his designee shall return defendant to the

Correctional Center.

       IT IS SO ORDERED.

       Dated this 26th day of March, 2014.

                                             /s/ Charles S. Miller, Jr.
                                             Charles S. Miller, Jr., Magistrate Judge
                                             United States District Court
